               Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 1 of 20



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10
                                       UNITED STATES DISTRICT COURT
11
                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
12
                                                           Civil Action No. 3:18-cv-01865-RS and
13    STATE OF CALIFORNIA, et al.,                         Civil Action No. 3:18-cv-02279-RS

14            Plaintiffs,
                                                           DEFENDANTS’ NOTICE OF MOTION
15    v.                                                   AND MOTION IN LIMINE AND
                                                           MEMORANDUM IN SUPPORT
16    WILBUR L. ROSS, JR., et al.,                         THEREOF

17            Defendants.                                  Date: January 2, 2019
                                                           Time: 10:00 am
18    ____________________________________                 Judge: Hon. Richard Seeborg

19    City of San Jose, et al.,

20             Plaintiffs,

21    v.

22    WILBUR L. ROSS, JR., et al.,

23              Defendants.

24

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                                  DEFENDANTS’ MOT. IN LIMINE – No. 3:18-cv-01865-RS
              Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 2 of 20



 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that on Wednesday, January 2, 2019, at 10:00 a.m., or as soon
 3
     thereafter as counsel may be heard, before The Honorable Richard Seeborg, in Courtroom 3, 17th
 4
     Floor, of the United States Courthouse, 450 Golden Gate Avenue, San Francisco, California, the
 5
     defendants Wilbur L. Ross, Jr., Secretary of Commerce; U.S. Department of Commerce; Ron
 6
     Jarmin, performing the nonexclusive functions and duties of Director, U.S. Census Bureau; and U.S.
 7

 8   Census Bureau will move, and hereby do move, to exclude certain evidence and witness at trial for

 9   the reasons set forth in the following Memorandum of Points and Authorities.

10

11   Date: December 21, 2018                              Respectfully submitted,
12                                                        JOSEPH H. HUNT
                                                          Assistant Attorney General
13
                                                          BRETT A. SHUMATE
14                                                        Deputy Assistant Attorney General
15                                                        JOHN R. GRIFFITHS
                                                          Director, Federal Programs Branch
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17                                                        Assistant Director
18                                                          /s/Marsha Stelson Edney
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                            DEFENDANTS’ MOT. IN LIMINE – No. 3:18-cv-01865-RS
               Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 3 of 20



 1          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION IN LIMINE TO
                   EXCLUDE CERTAIN EVIDENCE AND WITNESSES
 2
             “The purpose of an in limine motion is to aid the trial process by enabling the Court to rule in
 3

 4   advance of trial on the relevance of certain forecasted evidence, as to issues that are definitely set for

 5   trial, without lengthy argument at, or interruption of, the trial.” Palmieri v. Defaria, 88 F.3d 136, 141

 6   (2d Cir. 1996) (emphasis added, internal citation omitted); Bd. of Cal. Winery Workers’ Pension Tr. Fund
 7   v. Vineyards, No. 1:17-cv-00364-SAB, 2018 WL 4242068, at *2 (E.D. Cal. Sept. 6, 2018) (same); see
 8
     generally Fed. R. Evid. 104. In limine motions serve the goal of “streamlin[ing] trials and settl[ing]
 9
     evidentiary disputes in advance.” United States v. Tokash, 282 F.3d 962, 968 (7th Cir. 2002). Here,
10
     Defendants respectfully request the following pretrial rulings: (1) the exclusion of five new fact
11
     witnesses improperly disclosed less than a month before trial and well after the close of discovery
12

13   under Federal Rule of Civil Procedure (“FRCP”) 37(c)(1); (2) the admission of the Administrative

14   Record into evidence; and (3) the exclusion of all testimony and exhibits beyond the Administrative

15   Record relating to the merits of this litigation as irrelevant under Federal Rule of Evidence (“FRE”)
16   402.
17
     I.      The Court Should Exclude the Newly Disclosed Fact Witnesses under FRCP 37(a)
18           as Untimely, Unjustified and Prejudicial

19           On December 12, 2018, the same day that the parties exchanged witness lists pursuant to
20   ECF No. 99, Plaintiffs served Defendants with supplemental initial disclosures under FRCP 26(a)
21
     and (e), disclosing between them a total of five never previously disclosed fact witnesses. See Ex. A
22
     (attaching Plaintiffs’ supplemental disclosures). These supplemental disclosures, sent well after
23
     discovery closed on October 11, 2018 (ECF No. 79) and less than a month before trial, were served
24
     without any advance notice to Defendants despite the fact that the parties had participated in a
25

26   conference call earlier that day, during which the parties’ witness lists were discussed along with

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 1   other matters related to the joint pretrial statement. Because the disclosure of these new fact

 2   witnesses is untimely, not substantially justified, and prejudicial to Defendants, FRCP 37 requires
 3   that all five witnesses should be automatically excluded from the trial.
 4
             “[O]ne of the principal goals of the discovery rules [is] preventing trial by ambush and
 5
     surprise.” Matrix Int'l Textile, Inc. v. Monopoly Textile, Inc., No. CV 16-0084 FMO (AJW), 2017 WL
 6
     2906015, at *1 (C.D. Cal. May 9, 2017) (quoting Brandon v. Mare-Bear, Inc., 225 F.3d 661(9th Cir.
 7
     2000); Nationwide Life Ins. Co. v. Richards, 541 F.3d 903, 910 (9th Cir. 2008) (“The Federal Rules of
 8

 9   Civil Procedure ‘contemplate ... full and equal discovery’ ... so as to prevent surprise, prejudice and

10   perjury’ during trial.”) (citation omitted). Under FRCP 26(a)(1)(A)(i), a party must disclose “the

11   name and, if known, the address and telephone number of each individual likely to have
12   discoverable information—along with the subjects of that information—that the disclosing party
13
     may use to support its claims or defenses[.]” FRCP 37(c)(1) says that “[i]f a party fails to provide
14
     information or identify a witness as required by Rule 26(a)…, the party is not allowed to use that
15
     information or witness to supply evidence… at a trial, unless the failure was substantially justified or
16
     is harmless.” This exclusionary sanction is “‘self-executing’” and “‘automatic.’” Goodman v. Staples The
17

18   Office Superstore, LLC, 644 F.3d 817, 827 (9th Cir. 2011) (quoting Yeti by Molly, Ltd. v. Deckers Outdoor

19   Corp., 259 F.3d 1101, 1106 (9th Cir. 2001)). Rule 37 “gives teeth” to Rule 26’s disclosure

20   requirements and thus gives parties “a strong inducement for disclosure.” Id. “[T]he burden is on the
21   party facing sanctions to prove harmlessness.” Yeti by Molly, Ltd., 259 F.3d at 1107.
22
             Plaintiffs cannot show that their failure to timely disclose these five witnesses was
23
     substantially justified or harmless. Plaintiffs have not provided any justification (or even an
24
     acknowledgment) for their last-minute disclosure of these fact witnesses. There is no discernable
25
     reason for Plaintiffs to have failed to identify these individuals during discovery. In fact, all five
26

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                              DEFENDANTS’ MOT. IN LIMINE – No. 3:18-cv-01865-RS
               Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 5 of 20



 1   witnesses are employed by Plaintiffs (or subdivisions of Plaintiffs) and have held their current

 2   positions since the filing of this lawsuit. Moreover, the dilatory disclosure of these witnesses is
 3   clearly prejudicial to Defendants. As of the filing of this motion, the trial is scheduled to start in
 4
     under three weeks, and Defendants have not had the opportunity to depose any of these witnesses.
 5
     The discovery deadline has long passed, and there are a substantial number of pre-trial deadlines
 6
     with which Defendants must comply before the pre-trial conference on January 2, 2019. Even if this
 7
     Court were to permit the government to take the depositions of these recently identified witnesses,
 8

 9   Defendants would still be harmed as they simply do not have the time or manpower to conduct the

10   depositions of five new witnesses so close to trial. See Wong v. Regents of Univ. of Cal., 410 F.3d 1052,

11   1062 (9th Cir. 2005) (noting that “[d]isruption to the schedule of the court and other parties in that
12   manner is not harmless”). Given Plaintiffs’ dilatory disclosure of these witnesses, they should
13
     automatically be excluded pursuant to FRCP 37(c)(1).
14
     II. The Court Should Admit Into Evidence the Administrative Record
15
             Plaintiffs have challenged the Secretary of Commerce’s decision to reinstate a citizenship
16
     question on the 2020 Decennial Census under the Administrative Procedure Act (“APA”). Review
17

18   of the Plaintiffs’ APA claim is properly confined to the record before the Secretary. See Herguan Univ.

19   v. ICE, 258 F. Supp. 3d 1050, 1063 (N.D. Cal. 2017) (The Court’s review “is based on the agency

20   record and limited to determining whether the agency acted arbitrarily or capriciously.”) (quoting
21   Rempfer v. Sharfstein, 583 F.3d 860, 865 (D.C. Cir. 2009)); see also, e.g. Camp v. Pitts, 411 U.S. 138, 142
22
     (1973) (per curiam). Therefore, Defendants maintain that trial on the merits of this case is
23
     inappropriate. Nevertheless, to the extent the Court proceeds to conduct a trial, judicial review
24
     should be confined to the administrative record. Notably, the administrative record appears on both
25

26

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                               DEFENDANTS’ MOT. IN LIMINE – No. 3:18-cv-01865-RS
                Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 6 of 20



 1   parties’ exhibit lists, and there can be no dispute that the administrative record is central to the

 2   Court’s resolution of Plaintiffs’ claims.
 3             Accordingly, Defendants respectfully seek the admission into evidence of the administrative
 4
     record.
 5
     III.      The Court Should Exclude All Exhibits and Testimony Concerning the Merits of the
 6             Secretary’s Decision under Rule 402 as Irrelevant
 7             Because the administrative record serves as the exclusive source for judicial review of a
 8
     challenge to final agency action, it necessarily follows that evidence beyond the administrative record
 9
     is irrelevant for purposes of resolving Plaintiffs’ claims. As discussed below, Plaintiffs improperly
10
     seek to introduce numerous exhibits, multiple expert witnesses, and deposition designations from a
11
     number of government employees in an attempt to support their claims on the merits. Because this
12

13   evidence is irrelevant for review of a final agency decision under the APA, Defendants respectfully

14   request that the Court exclude it from trial.

15             Under the Federal Rules, evidence must be relevant to be admissible. FRE 402. Evidence is
16   relevant if “it has any tendency to make a fact more or less probable than it would be without the
17
     evidence; and the fact is of consequence in determining the action.” FRE 401. “The particular facts
18
     of the case determine the relevancy of a piece of evidence.” United States v. Vallejo, 237 F.3d 1008,
19
     1015 (9th Cir. 2001) amending opinion on denial of rehearing, 246 F.3d 1150 (9th Cir. 2001).
20
               Here, there can be little doubt that the extra-record evidence Plaintiffs seek to introduce at
21

22   trial to challenge the Secretary’s decision is irrelevant in this APA case. In an APA case, “‘[T]he focal

23   point for judicial review should be the administrative record already in existence, not some new

24   record made initially in the reviewing court.’” Florida Power & Light Co. v. Lorion, 470 U.S. 729, 743
25   (1985) (quoting Camp, 411 U.S. 138, 142 (1973)). In deciding an arbitrary-and-capricious claim, the
26
     question for the Court is whether the agency’s decision “was the product of reasoned
27                                                        4
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                               DEFENDANTS’ MOT. IN LIMINE – No. 3:18-cv-01865-RS
                 Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 7 of 20



 1   decisionmaking.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

 2   52 (1983). “The only question before [the Court] is whether the [agency], in reaching its ultimate
 3   finding, ‘considered the relevant factors and articulated a rational connection between the facts
 4
     found and the choices made.’” Nw. Ecosys. All. v. U.S. Fish & Wildlife Serv., 475 F.3d 1136, 1145 (9th
 5
     Cir. 2007) (quoting Nat’l Ass’n of Home Builders v. Norton, 340 F.3d 835, 841 (9th Cir. 2003)). And
 6
     “[t]hat requirement is satisfied when the agency’s explanation is clear enough that its ‘path may
 7
     reasonably be discerned.’” Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016) (quoting
 8

 9   Bowman Transp., Inc. v. Ark-Best Freight Sys, Inc., 419 U.S. 281, 286 (1974)); see also Herguan Univ., 258 F.

10   Supp. 3d at 1063 (“[W]hen a party seeks review of agency action under the APA … , the district

11   judge sits as an appellate tribunal.”) (quoting Rempfer 583 F.3d at 865). Thus, this Court’s review “is
12   based on the agency record and limited to determining whether the agency acted arbitrarily or
13
     capriciously.” Id. (quoting Rempfer, 583 F.3d at 865); see also, e.g. Camp, 411 U.S. at 142 (1973) (per
14
     curiam). Likewise, judicial review of Plaintiffs’ Enumeration Clause claim, which fundamentally
15
     duplicates their APA claim, is also limited to the administrative record. See, e.g., Charlton Mem’l Hosp.
16
     v. Sullivan, 816 F. Supp. 50, 51 (D. Mass. 1993) (adding constitutional claims to APA claims “cannot
17

18   so transform the case that it ceases to be primarily a case involving judicial review of agency

19   action”).

20           Plaintiffs have identified numerous exhibits they may seek to admit at trial that are not taken
21   from the Administrative Record, and that appear to be in support of the merits of their claim under
22
     the APA challenging the Secretary’s decision to reinstate a citizenship question on the decennial
23
     census. For the reasons explained above, the use of these exhibits, which were not before the
24
     Secretary when he made his decision, for this purpose is wholly improper in an APA case. Herguan
25
     Univ, 258 F. Supp. 3d at 1063 (court review limited to whether the agency decision is supported by
26

27                                                        5
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                               DEFENDANTS’ MOT. IN LIMINE – No. 3:18-cv-01865-RS
                Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 8 of 20



 1   the record). Thus, any evidence outside of the administrative record should be excluded under FRE

 2   402 in connection with the Court’s review of Plaintiffs’ claims on the merits.
 3            Likewise, Plaintiffs have identified seven expert witnesses whose testimony they expect to
 4
     present at trial either live or by declaration. To the extent Plaintiffs seek to introduce this expert
 5
     testimony for the purpose of second-guessing the Secretary’s decision, that testimony should be
 6
     excluded as improper because it was not before the Secretary and thus, is irrelevant to his decision.
 7
     See, e.g., San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 993 (9th Cir. 2014) (concluding
 8

 9   that the district court abused its discretion “when it used several extra-record declarations to

10   question [the agency’s] scientific judgments” and “opening the administrative record as a forum for

11   the experts to debate the merits of the [agency action]”); Love v. Thomas, 858 F.2d 1347, 1356 (9th
12
     Cir. 1988); Asarco, Inc. v. EPA, 616 F.2d 1153, 1160-61 (9th Cir. 1980). For the same reason, any
13
     expert testimony on the merits should be excluded as unhelpful to the trier of fact under FRE 702.
14
     See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 591, 597 (1993); Kumho Tire Co. v. Carmichael, 526
15
     U.S. 137, 149 (1999).
16

17            Because Plaintiffs’ APA claims present only legal questions, there are no “facts of

18   consequence” in this action and the proposed exhibits, expert testimony, and deposition

19   designations they intend to offer into evidence in support of their APA claims are irrelevant under
20   FRE 402 as a matter of law. Accordingly, the Court should grant Defendants’ motion in limine. See
21
     Bromberg v. United States, 389 F.2d 618, 618 (9th Cir. 1968) (affirming exclusion of irrelevant
22
     exhibits). 1
23

24
     1That this Court authorized extra-record discovery on a preliminary finding of bad faith does not mean that
25   extra-record evidence may be considered by the Court for APA merits review. As the Supreme Court
     repeatedly has explained, where there is a “contemporaneous explanation” for an agency’s decision, its
26   validity “must . . . stand or fall on the propriety of that finding.” Camp, 411 U.S. at 143. Thus materials that
     were not before the agency decisionmaker at the time of the decision, such as expert testimony, see e.g., Vt.
27                                                           6
     ______________________________________________________________________________
28
                                DEFENDANTS’ MOT. IN LIMINE – No. 3:18-cv-01865-RS
               Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 9 of 20



 1                                                 CONCLUSION

 2           For the foregoing reasons, this Court should grant Defendants’ motion in limine and
 3   (1) exclude all five new fact witnesses disclosed on December 12, 2018; (2) admit the Administrative
 4
     Record into evidence; and (3) exclude all testimony and exhibits beyond the Administrative Record
 5
     relating to the merits of this litigation.
 6

 7   Date: December 21, 2018                                     Respectfully submitted,
 8
                                                                 JOSEPH H. HUNT
 9                                                               Assistant Attorney General
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                                                                 Deputy Assistant Attorney General
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                                                                   /s/Marsha Stelson Edney
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23

24   Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 549 (1978), or materials produced in
     discovery, see, e.g., Camp, 411 U.S. at 142 (per curiam), are not part of the agency record and should not be
25   considered. Because Plaintiffs have failed to uncover actual evidence of bad faith or pretext, despite months of
     exhaustive discovery and the production tens of thousands of documents, they are not entitled to rely on
26   discovery materials first authorized by this Court’s threshold finding of potential bad faith.

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                               DEFENDANTS’ MOT. IN LIMINE – No. 3:18-cv-01865-RS
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                       EXHIBIT A
Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 11 of 20
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      Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 18 of 20



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16   [Additional Counsel Listed on Signature Page]
17
                           IN THE UNITED STATES DISTRICT COURT
18
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
19    CITY OF SAN JOSE, a municipal
      corporation; and BLACK ALLIANCE FOR    3:18-cv-02279-RS
20    JUST IMMIGRATION, a California
      nonprofit corporation,                 PLAINTIFFS’ SECOND
21                                           SUPPLEMENT TO THEIR INITIAL
                    Plaintiffs,              DISCLOSURES PURSUANT TO FED.
22                                           RULE CIV. PROC. 26(a)
            vs.
23
      WILBUR L. ROSS, JR., in his official               Assigned to the Honorable Richard G.
24    capacity as Secretary of the U.S. Department       Seeborg
      of Commerce; U.S. DEPARTMENT OF
25    COMMERCE; RON JARMIN, in his
      official capacity as Acting Director of the
26    U.S. Census Bureau; U.S. CENSUS
      BUREAU,
27
                   Defendants.
28
                                                     1
                  PLAINTIFFS’ SECOND SUPP. TO INITIAL DISCLOSURES – 3:18-cv-02279-RS
      Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 19 of 20



 1         Plaintiffs City of San Jose (“San Jose” or “the City”) and the Black Alliance for Just
 2   Immigration (“BAJI”) (collectively “Plaintiffs”) make the following second supplement to their
 3   Initial Disclosures, originally submitted on June 21, 2018:
 4          II.     WITNESSES
 5          Plaintiffs identify the following individuals currently known to them as likely to have
 6   discoverable information that Plaintiffs may use to support their claims or defenses:
 7          1.      San Jose’s Persons Most Qualified (“PMQs”), c/o Manatt, Phelps & Phillips, LLP,
 8   11355 W. Olympic Blvd., Los Angeles, CA 90064 (“MPP”). San Jose will provide three
 9   additional PMQs on the following sub-topics:
10                  a.        Jill Bourne, Director of the San Jose Public Library System. Ms. Bourne
11   will testify as to the use of census data in strategic planning for the San Jose library system and
12   San Jose’s need for accurate data quality.
13                  b.        Raymond Riordan, CEM®, Director, Office of Emergency Management.
14   Mr. Riodan will testify as to the use of census data in strategic planning for the San Jose
15   Emergency Management Department, including use of census population data to determine when
16   various federal and state disaster grants are triggered.
17                  c.        Anthony Mata, Deputy Chief of Police. Mr. Mata will testify as to the use
18   of census data in strategic planning for the San Jose Police Department.
19

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                   PLAINTIFFS’ SECOND SUPP. TO INITIAL DISCLOSURES – 3:18-cv-02279-RS
     Case 3:18-cv-01865-RS Document 118 Filed 12/21/18 Page 20 of 20



 1                                     Respectfully submitted,
 2   Dated: December 12, 2018          MANATT, PHELPS & PHILLIPS, LLP
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25

26

27

28
                                               3
               PLAINTIFFS’ SECOND SUPP. TO INITIAL DISCLOSURES – 3:18-cv-02279-RS
              Case 3:18-cv-01865-RS Document 118-1 Filed 12/21/18 Page 1 of 1



 1
                                     UNITED STATES DISTRICT COURT
 2
                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
 3

 4    STATE OF CALIFORNIA, et al.,

 5            Plaintiffs,

 6    v.                                                 Civil Action No. 3:18-cv-01865-RS and
                                                         Civil Action No. 3:18-cv-02279-RS
 7    WILBUR L. ROSS, JR., et al.,

 8            Defendants.

 9    ____________________________________               Proposed Order

10    City of San Jose, et al.,

11             Plaintiffs,

12    v.

13    WILBUR L. ROSS, JR., et al.,

14              Defendants.

15

16           Upon consideration of Defendants’ Motion in Limine, and any objections thereto, it is hereby
17
     ordered that that the Motion is GRANTED. It is further ORDERED that all five new fact
18
     witnesses disclosed on December 12, 2018 are excluded; (2) the Administrative Record is hereby
19
     admitted into evidence; and (3) all testimony and exhibits beyond the Administrative Record relating
20
     to the merits of this litigation is excluded.
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22           Dated: _________                        ________________________
                                                     Honorable Richard Seeborg
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